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17
                                   UNITED STATES DISTRICT COURT
18
                                 NORTHERN DISTRICT OF CALIFORNIA
19
      ANIBAL RODRIGUEZ, JULIEANNA
20    MUNIZ, ELIZA CAMBAY, SAL                        Case No.: 3:20-cv-04688
      CATALDO, EMIR GOENAGA, JULIAN
21    SANTIAGO, HAROLD NYANJOM,                       ADMINISTRATIVE MOTION TO
      KELLIE NYANJOM, and SUSAN LYNN                  CONSIDER WHETHER ANOTHER
22
      HARVEY, individually and on behalf of all       PARTY’S MATERIAL SHOULD BE
23    others similarly situated,                      SEALED

24                   Plaintiffs,                      The Honorable Richard Seeborg
                                                      Courtroom 3 – 17th Floor
25     vs.                                            Trial Date: Not Yet Set
26
       GOOGLE LLC,
27
                     Defendant.
28

                                                                               CASE NO. 3:20-cv-04688
                         ADMINISTRATIVE MOTION RE SEALING PORTIONS OF JOINT LETTER BRIEF RE SEARCH
                                                       TERMS FOR ADDITIONAL NINETEEN CUSTODIANS
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1            Pursuant to Civil Local Rule 79-5, Plaintiffs respectfully ask the Court to consider whether
2     Google LLC’s (“Google”) material should be sealed. The material is included within Plaintiffs’
3     Response to the Court’s Request for Additional Information Regarding Certain Disputed Search
4     Terms (Dkt. 211) (“Plaintiffs’ Search Term Letter”).
5
       Document Sought to       Party Claiming        Portions to be filed      Basis for Sealing
6      be Sealed                Confidentiality       under seal                Portion of Document
       Mao Declaration          Google                Portion highlighted in    Refers to material
7                                                     yellow on page 1 (¶ 7)    designated
                                                                                “Confidential” or
8                                                                               “Highly Confidential –
9                                                                               Attorneys’ Eyes Only”
                                                                                pursuant to the
10                                                                              Protective Order
       Exhibit 2 to Mao         Google                Entirety                  Refers to material
11     Declaration                                                              designated
                                                                                “Confidential” or
12                                                                              “Highly Confidential –
13                                                                              Attorneys’ Eyes Only”
                                                                                pursuant to the
14                                                                              Protective Order
       Exhibit 3 to Mao         Google                Entirety                  Refers to material
15     Declaration                                                              designated
                                                                                “Confidential” or
16
                                                                                “Highly Confidential –
17                                                                              Attorneys’ Eyes Only”
                                                                                pursuant to the
18                                                                              Protective Order
19           Pursuant to Civil Local Rule 79-5(f), Google, as the Designating Party, bears the

20 responsibility to establish that its designated material is sealable.

21
      Dated: December 21, 2022                     Respectfully submitted,
22

23
                                                   By: /s/ Mark C. Mao
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